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                    COMMONWEALTH OF KENTUCKY
                        FAYETTE CIRCUIT COURT
                          DIVISION __________
                         NO.-__________________

                              Electronically Filed


 ROBERT TOMPKINS                                                 PLAINTIFF

 v.

 BONNIE PLANTS, INC. d/b/a BONNIE PLANTS


       SERVE: REGISTERED AGENT
              C T CORPORATION SYSTEM
              306 W MAIN ST
              SUITE 512
              FRANKFORT, KY 40601
              Via Certified Mail

 and

 ALABAMA FARMERS COOPERATIVE, INC. d/b/a BONNIE PLANTS

       SERVE: REGISTERED AGENT
              ALFRED E. CHEATAM, JR.
              121 SOMERVILLE RD. NE
              DECATUR, AL 35601
              Via Secretary of State

 and

 LOWE’ S HOME IMPROVEMENT, LLC d/b/a LOWE’S and d/b/a LOWE’S HOME
 IMPROVEMENT

       SERVE: REGISTERED AGENT,
              CORPORATION SERVICE COMPANY
              421 WEST MAIN STREET
              FRANKFORT, KY 40601
              Via Certified Mail
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                                        COMPLAINT

         Comes the Plaintiff, ROBERT TOMPKINS, by and through undersigned counsel,

 and for his cause of action against Defendants, Bonnie Plants, Inc. d/b/a Bonnie Plants

 (hereinafter ‘Bonnie”), Alabama Farmers Cooperative, Inc. d/b/a Bonnie Plants

 (hereinafter “AFC”), and Lowe’s Home Improvement, LLC d/b/a Lowe’s and d/b/a

 Lowe’s Home Improvement (hereinafter “Lowe’s”), hereby states as follows:

         1.      At all times relevant hereto, Plaintiff was and is a citizen of Lexington,

 Fayette County, Kentucky.

         2.      At all times relevant hereto, Defendant Bonnie is a foreign corporation

 with its principal place of business in Decatur, Alabama, that is actively conducting

 business in Fayette County and subject to the jurisdiction of this Court.

         3.      At all times relevant hereto, Defendant AFC is a foreign corporation with

 its principal place of business in Decatur, Alabama, that is actively conducting business

 in Fayette County and subject to the jurisdiction of this Court.

         4.      At all times relevant hereto, Defendant Lowe’s is a foreign limited liability

 company with its principal place of business in Wilkesboro, NC that is actively

 conducting business as a home improvement store in Fayette County and subject to the

 jurisdiction of this Court.

         5.      At all times relevant hereto, Defendant Lowe’s owned, managed,

 maintained, controlled and/or supervised a retail store located at 2300 Grey Lag Way,

 Lexington, KY 40509.

         6.      At all times relevant hereto, Defendant Lowe’s, by and through its agents,

 ostensible agents, servants, employees and/or representatives, had a duty to maintain said
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 premises in a reasonably safe condition for and to exercise ordinary care with respect to

 the safety of those legally upon the premises.

         7.      On or about April 17, 2018, Defendants Bonnie and/or Defendant AFC

 owned, managed, maintained, controlled and/or supervised a truck (hereinafter the

 “Truck”) that was parked near the front of the retail store located at 2300 Grey Lag Way,

 Lexington, KY 40509.

         8.      Upon information and belief, the Truck was parked near the front of the

 retail store located at 2300 Grey Lag Way, Lexington, KY 40509 for the purpose of

 unloading merchandise from the Truck to the retail store and/or loading merchandise

 from the retail store into the Truck.

         9.      At all times relevant hereto, Defendants Bonnie and/or AFC, by and

 through its agents, ostensible agents, servants, employees and/or representatives, had a

 duty to maintain the Truck while it was parked near the front of the retail store located at

 2300 Grey Lag Way, Lexington, KY 40509 on the date set out above in a reasonably safe

 condition for and to exercise ordinary care with respect to the safety of those legally upon

 the premises.

         10.     On the date set out above, as a direct and proximate result of the negligent

 acts and/or omissions of all Defendants, by and through their agents, ostensible agents,

 servants, employees and/or representatives, Plaintiff, as a business invitee, while lawfully

 upon the premises of the retail store located at 2300 Grey Lag Way, Lexington, KY

 40509 and exercising due care for his own safety, was approaching to enter the store and

 tripped on the liftgate at the rear of the Truck, causing Plaintiff to fall.

         11.     At the time of Plaintiff’s fall, the liftgate on the Truck was at ground level
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 at the rear of the Truck.

            12.   The positioning of the liftgate on the Truck at ground level created a

 dangerous condition on said premises.

            13.   At the time of Plaintiff’s fall, all Defendants failed to adequately warn

 Plaintiff of the dangerous condition.

            14.   As a result of Plaintiff’s fall, Plaintiff suffered injuries, primarily to his

 head/brain and right eye.

            15.   As a direct and proximate result of the negligent acts and/or omissions of

 all Defendants, by and through their agents, ostensible agents, servants, employees and/or

 representatives, Plaintiff was caused to incur medical expenses both past and future,

 physical and mental pain and suffering both past and future, lost wages and impaired

 capacity to earn in the future, increased risk of harm, mental anguish and lost enjoyment

 of life.

            16.   The acts and/or omissions of Defendants, by and through its agents,

 ostensible agents, servants, employees and/or representatives, were undertaken with a

 reckless disregard for the safety of others in general and the Plaintiff in particular.

            17.   Plaintiff’s damages are in excess of the minimum dollar amount necessary

 to invoke the jurisdiction of this Court.

            WHEREFORE, Plaintiff, by and through undersigned counsel, respectfully

 demands judgment against Defendants as follows:

            1.    For an amount of compensatory damages that is fair and reasonable as

                  established by the evidence;

            3.    For prejudgment interest from the date of injury until such time as
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              judgment is paid;

       4.     For his costs herein expended; and

       5.     For any and all other relief to which he may be entitled.


                                            Respectfully submitted,


                                            /s/ J. Tate Meagher
                                            J. Tate Meagher
                                            MEAGHER LAW OFFICE, PLLC
                                            436 South 7th Street, Suite 200
                                            Louisville, KY 40203
                                            (502) 309-9213 (office)
                                            (502) 855-3166 (fax)
                                            tate@meagherlawoffice.com
                                            Counsel for Plaintiff
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 AOC-E-105        Sum Code: CI                                            05/02/2019  05:20:59 PM
 Rev. 9-14                                                          Case #: 19-CI-00994
                                                                          92461-1
                                                                    Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                    County: FAYETTE
 CR 4.02; Cr Official Form 1                      CIVIL SUMMONS


Plantiff, TOMPKINS, ROBERT VS. BONNIE PLANTS, INC., ET AL, Defendant


    TO: C T CORPORATION SYSTEM
        306 WEST MAIN STREET
        SUITE 512
        FRANKFORT, KY 40601
Memo: Related party is BONNIE PLANTS, INC.

The Commonwealth of Kentucky to Defendant:
BONNIE PLANTS, INC.

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.




                                                                                                                                   Presiding Judge: HON. LUCY A. VANMETER (622386)
The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.




                                                         Fayette Circuit Clerk
                                                         Date: 3/19/2019




                                                  Proof of Service
   This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
      To:

 Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                        , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00000845546
CIRCUIT: 19-CI-00994 Certified Mail
TOMPKINS, ROBERT VS. BONNIE PLANTS, INC., ET AL

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  Rev. 9-14                                                          Case #: 19-CI-00994
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                                                                     Court: CIRCUIT
  Commonwealth of Kentucky
  Court of Justice  Courts.ky.gov                                    County: FAYETTE
  CR 4.02; Cr Official Form 1                             CIVIL SUMMONS


Plantiff, TOMPKINS, ROBERT VS. BONNIE PLANTS, INC., ET AL, Defendant


    TO: ALFRED E. CHEATAM JR
        121 SOMERVILLE ROAD NE
        DECATUR, AL 35601
Memo: Related party is ALABAMA FARMERS COOPERATIVE, INC.

The Commonwealth of Kentucky to Defendant:
ALABAMA FARMERS COOPERATIVE, INC.

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. LUCY A. VANMETER (622386)
document delivered to you with this Summons.




                                                                    Fayette Circuit Clerk
                                                                    Date: 3/19/2019




                                                          Proof of Service
    This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
       To:

 Not Served because:
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    Date:                            , 20
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Summons ID: @00000845547
CIRCUIT: 19-CI-00994 Long Arm Statute – SOS - Restricted Delivery
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                                                                    Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                    County: FAYETTE
 CR 4.02; Cr Official Form 1                      CIVIL SUMMONS


Plantiff, TOMPKINS, ROBERT VS. BONNIE PLANTS, INC., ET AL, Defendant


    TO: CORPORATION SERVICE COMPANY
        421 WEST MAIN STREET
        FRANKFORT, KY 40601
Memo: Related party is LOWE'S HOME IMPROVEMENT, LLC

The Commonwealth of Kentucky to Defendant:
LOWE'S HOME IMPROVEMENT, LLC

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. LUCY A. VANMETER (622386)
document delivered to you with this Summons.




                                                         Fayette Circuit Clerk
                                                         Date: 3/19/2019




                                                  Proof of Service
   This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
      To:

 Not Served because:
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   Date:                        , 20
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                                     COMMONWEALTH OF KENTUCKY
                                         FAYETTE CIRCUIT COURT
                                           DIVISION __________
                                          NO.-__________________



         ROBERT TOMPKINS                                                                      PLAINTIFF


         vs.


         BONNIE PLANTS, INC., et al.                                                      DEFENDANTS


               PLAINTIFF’S INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
                 DOCUMENTS PROPOUNDED TO DEFENDANT BONNIE PLANTS, INC

                                                 ** ** ** ** **




                                                                                                            Presiding Judge: HON. LUCY A. VANMETER (622386)
                 Pursuant to Rules 26, 33, 34 and 36 of the Kentucky Rules of Civil Procedure, Plaintiff,

        Robert Tompkins, by and through counsel, hereby requests that Defendant Bonnie Plants, Inc.

        d/b/a Bonnie Plants (hereinafter “Defendant”) answer the following Interrogatories and Requests

        for Production of Documents according to the Kentucky Rules of Civil Procedure and serve them

        upon Plaintiff’s counsel within forty-five (45) days of the date of service.

                 These Interrogatories and Requests for Production shall be deemed continuing.

        Knowledge of the attorneys for the Defendant or the claims agent or any other agent of the

        Defendant, or of any employee of the Defendant, shall be deemed to be the knowledge of the

        Defendant.

                                            INTERROGATORIES
                                                                                                            IRPD : 000001 of 000013




                 INTERROGATORY #1: Please identify yourself fully, stating your full name, residence




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        and business address, the position you hold with the Defendant, and your job responsibilities.

               ANSWER:


               INTERROGATORY #2: Was the Defendant in control of the liftgate in which Plaintiff

        tripped on at the time Plaintiff’s fall specified in Plaintiff’s Complaint (hereinafter referred to as

        the “Fall” or “Plaintiff’s Fall”) occurred? If not please state the name and address of those persons

        or entities which were in control of said liftgate at said time.


               ANSWER:


               INTERROGATORY #3: Please state the name and address of any person, firm or

        corporation which had the responsibility or duty for the maintenance of the liftgate on which the




                                                                                                                 Presiding Judge: HON. LUCY A. VANMETER (622386)
        Plaintiff tripped on to cause his Fall at the time of Plaintiff’s Fall if other than the Defendant.


               ANSWER:


               INTERROGATORY #4: Please state what precautions if any were taken by the

        Defendant or any agent, or employee of the Defendant prior to the Plaintiff’s Fall to prevent

        injuries such as those sustained by Plaintiff.


               ANSWER:


               INTERROGATORY #5: Prior to Plaintiff’s Fall please explain what notice, if any,

        Defendant had of the condition alleged to have caused Plaintiff’s Fall, how Defendant received
                                                                                                                 IRPD : 000002 of 000013




        the notice, and what steps Defendant took after notice was received to warn customers of the

        condition or to correct the condition.




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               ANSWER:


               INTERROGATORY #6: Prior to Plaintiff’s Fall please explain what preventative

        measures or actions were taken to prevent injuries such as Plaintiff’s.


               ANSWER:


               INTERROGATORY #7: Please state in detail each act or omission by Plaintiff that it

        is contended, contributed to or caused his Fall.


               ANSWER:


               INTERROGATORY #8: If it is the Defendant's contention that the Plaintiff’s injuries




                                                                                                                 Presiding Judge: HON. LUCY A. VANMETER (622386)
        were caused by some person or persons other than Defendant or their agents or employees, then

        please identify these other persons fully giving their names, addresses and telephone numbers.


               ANSWER:


               INTERROGATORY #9: If the Defendant believes that it was not required to warn

        customers of the condition that caused Plaintiff’s Fall or correct such condition due to the

        involvement of those listed in Interrogatory No. 8, please set forth each and every fact that supports

        Defendant’s belief.


               ANSWER:                                                                                           IRPD : 000003 of 000013




               INTERROGATORY #10: Please state in detail what the Defendant's policy and

        procedure is for their agents, employees or representatives to follow when they discover a




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        condition or situation that could give rise to injury.


               ANSWER:


               INTERROGATORY #11: Please state in detail what the Defendant's policy and

        procedure is for their agents, employees or representatives to follow when they are loading or

        unloading merchandise to or from a retail store.


               ANSWER:


               INTERROGATORY #12: Please state whether the policies or procedures identified in

        Interrogatories #10 and #11 were followed in this case, and if so, identify the agents, employees,




                                                                                                                Presiding Judge: HON. LUCY A. VANMETER (622386)
        or representatives who followed the policy or procedure, their current address and telephone

        number, the current employment status, and the exact steps they took to comply with the policy

        and procedure.


               ANSWER:


               INTERROGATORY #13: If you had any other incidents prior to the incident forming

        the basis of this lawsuit which are substantially similar or occurred at the same or similar location

        please provide details of said incidents, identifying any documents and photographs which reflect

        such incidents and identifying any witnesses or parties to said incident.


               ANSWER:
                                                                                                                IRPD : 000004 of 000013




               INTERROGATORY #14: Is it the Defendant's usual custom and procedure to investigate

        incidents where someone claims they have suffered an injury on the premises? If so, please




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        describe that custom and procedure generally and identify how that procedure was implemented

        on the date of Plaintiff’s Fall.


                ANSWER:


                INTERROGATORY #15: If there was any type of investigation made concerning the

        Plaintiffs Fall please state whether the Defendant conducted such investigation in anticipation of

        litigation and if so, state each fact of which Defendant was aware at the time of the investigation

        that caused it to believe that it was conducting the investigation in anticipation of litigation. Please

        also state the names of the persons who conducted said investigation.


                ANSWER:




                                                                                                                   Presiding Judge: HON. LUCY A. VANMETER (622386)
                INTERROGATORY #16: Describe any insurance agreement under which any company

        may be liable to satisfy part or all of the judgment which may be entered in this action or to

        indemnify or reimburse for payments made to satisfy the judgment by stating the name of the

        person or entity who is insured, the name of the insurer and the amount of any liability insurance

        coverage and also indicate whether any medical payment coverage is available under any such

        coverage.


                ANSWER:


                INTERROGATORY # 17: Please describe in detail any previous or subsequent incidents
                                                                                                                   IRPD : 000005 of 000013



        which occurred in substantially the same way as Plaintiff’s Fall that were caused by equipment

        owned, maintained or controlled by Defendant.




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               ANSWER:


               INTERROGATORY #18: If the Defendant changed, reconfigured, corrected, repaired or

        fixed in any way the liftgate that caused Plaintiff's Fall please state what was done and by whom.


               ANSWER:


               INTERROGATORY #19: Please identify each person whom you intend to call as an

        expert witness at the trial of this matter and for each such expert witness please state the following:


               a.       The subject matter on which said expert is expected to testify;


               b.       The substance, facts and opinions to which the expert is expected to testify;




                                                                                                                  Presiding Judge: HON. LUCY A. VANMETER (622386)
               c.       A summary of the grounds for each opinion expected to be given by the expert,

                        and;


               d.       Please indicate whether any report, including factual observations and opinions,

                        has been prepared by any such expert.


               ANSWER:


               INTERROGATORY #20: If you or your representative has obtained a statement of any

        type from any person who has knowledge of any relevant facts concerning Plaintiff's Fall, please

        state the name and address of the person giving the statement, whether the statement was written
                                                                                                                  IRPD : 000006 of 000013




        or recorded or otherwise transcribed and who took the statement.


               ANSWER:




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                INTERROGATORY #21: Please identify each lay witness that you intend to call at the

        trial of this matter and include a complete description of the subject matter of the expected

        testimony of each such witness.


                ANSWER:


                INTERROGATORY #22: Please describe any claims or lawsuits that have previously

        been brought against the Defendant by reason of an accident or injury involving facts similar to

        Plaintiff’s fall.




                                                                                                                Presiding Judge: HON. LUCY A. VANMETER (622386)
                ANSWER:


                INTERROGATORY #23: Please identify all photographs, motion pictures, video tape

        recordings, maps, drawings, charts, diagrams, measurements, surveys or other documents

        concerning the events and happenings forming the basis of this lawsuit, the area of the occurrence,

        persons or objects involved either made before or after the time of the events in question, including

        any photographs made at any time since the incident that you, your attorney, your insurance carrier

        or anyone acting on your or their behalf have or know of.


                ANSWER:


                INTERROGATORY #24: Please state the names, last known addresses, job titles or
                                                                                                                IRPD : 000007 of 000013




        descriptions of any and all agents and/or employees of Defendant who were working for the

        Defendant the day of Plaintiffs Fall. Please separately state the names and last known addresses of




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        each person who was present, is reported to have been present, or who claims to have been present

        at the scene of the occurrence complained of in the Plaintiff's complaint at any time within one

        hour preceding and/or one hour following Plaintiff’s Fall.


                  ANSWER:



                  INTERROGATORY #25:                 Did the Defendant’s employees, agents, or representatives

        communicate with the Plaintiff on the date of the Fall, and if so, please provide the employee, agent, or

        representative’s name, last known address and telephone number, position with Defendant, the current status

        of the employee, agent, or representative with Defendant, and the substance of the communications with the

        Defendant.




                                                                                                                          Presiding Judge: HON. LUCY A. VANMETER (622386)
                  ANSWER:


                  INTERROGATORY #26:                 Did the Defendant’s employees, agents, or representatives review a

        surveillance, security, or other videotape on the date of Plaintiff’s Fall or subsequently thereafter? If so,

        identify the employee, agent, or representative who reviewed the videotape, the reasons for reviewing the

        videotape, whether this review is part of a policy or procedure in place by the Defendant, and what actions the

        employee, agent, or representative took after reviewing the videotape.


                  ANSWER:


                                                  REQUESTS FOR PRODUCTION
                                                                                                                          IRPD : 000008 of 000013




                  Defendant is to produce the following items within forty-five days from service

        hereof:




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                REQUEST #1:             Any contracts between the Defendant and any maintenance, repair

        service or cleaning company in effect at the time of Plaintiff's Fall.

                RESPONSE:


                REQUEST #2:             Any contracts between the Defendant and any person or entity

        responsible for caring for the liftgate and/or the truck on which the liftgate was attached at the

        time of Plaintiff's Fall.


                RESPONSE:

                REQUEST #3:             Any indemnity agreement between any party to this case and any

        non-party which is relevant to the accident and injury forming the basis of this lawsuit.




                                                                                                             Presiding Judge: HON. LUCY A. VANMETER (622386)
                RESPONSE:

                REQUEST #4:             Any joint venture agreement between the parties or any party

        to this lawsuit and any non-party regarding the ownership, operation, repair, maintenance,

        advertising, security or other service of or for the premises of Plaintiff's Fall.


                RESPONSE:

                REQUEST # 5:            Any rules, management guidelines, operating guidelines or other

        similar writing or document that purports to show operating procedures for the management,

        care, maintenance, repair service or cleaning of the premises of Plaintiff's Fall.


                RESPONSE:
                                                                                                             IRPD : 000009 of 000013




                REQUEST #6:             Any and all photographs or video that the Defendant has of

        the scene of the Fall or the resulting injuries to Plaintiff, including any surveillance tape that




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        shows Plaintiff’s fall and/or the 24 hours prior to and after Plaintiff’s fall.


                RESPONSE:

                REQUEST #7:              Any and all insurance agreements or policies under which any

        person or entity carrying on an insurance business may be liable to satisfy part or all of a

        judgment which may be rendered in this action or to indemnify or reimburse for payments made

        to satisfy the judgment.


                RESPONSE:

                REQUEST #8:              Copies of any and all statements previously made by Plaintiff or

        Defendant concerning the subject matter of this lawsuit including any written statement signed or




                                                                                                            Presiding Judge: HON. LUCY A. VANMETER (622386)
        otherwise by either Plaintiff or Defendant in any stenographic, mechanical, electrical or other

        type of recording or any other transcription thereof made by either Plaintiff or Defendant and

        contemporaneously recorded.


                RESPONSE:

                REQUEST #9:              Any and all drawings, maps or sketches of the scene of

        Plaintiffs Fall.


                RESPONSE:

                REQUEST #10:             Any and all settlement agreements wherein you have arrived at a

        settlement or agreement between you and any other person whether or not a party to this lawsuit
                                                                                                            IRPD : 000010 of 000013



        regarding or pertaining to the incident forming the basis of this lawsuit or any damages

        resulting therefrom.




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                RESPONSE:

                REQUEST #11:            Any and all reports that were or will be relied upon in whole

        or in part by any testifying expert in this case.


                RESPONSE:

                REQUEST #12:            Any and all expert reports or things that were or will be

        reviewed by a testifying expert in this case.


                RESPONSE:

                REQUEST #13:            Any and all work papers, notes, documents in the file of any

        expert witness who is expected to testify or in the file of any expert witness who has written a




                                                                                                               Presiding Judge: HON. LUCY A. VANMETER (622386)
        report, which is or will be relied upon in whole or in part by a testifying expert in this case.


                RESPONSE:

                REQUEST #14:            All documents or tangible things prepared by any expert whom

        you expect to call as a witness not limited to those which would include his/her report,

        observations, opinions, conclusions, photographs, field notes or calculations relied upon for his or

        her testimony in this case.


                RESPONSE:

                REQUEST #15:            Any and all copies of reports of all similar incidents

        prepared by any and all employees of the Defendant for the past five years.
                                                                                                               IRPD : 000011 of 000013




                RESPONSE:

                REQUEST #16:            All materials including but not limited to employee manuals,




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        policy and procedure documents, memoranda and correspondence pertaining to safety rules

        and/or regulations to be followed by the employees to ensure safety which were in effect at the

        time of Plaintiff's Fall. This includes any training films and/or video tapes used by Defendant

        concerning customer falls, etc.


                REQUEST #17:              A current copy of the curriculum vitae of any expert who may

        be called to testify at trial.


                RESPONSE:

                REQUEST #18:              Any documents, incident reports, memorandums or other

        written records pertaining to any investigation into Plaintiffs Fall.




                                                                                                            Presiding Judge: HON. LUCY A. VANMETER (622386)
                RESPONSE:

                REQUEST #19:              Any known documents and tangible things of which production

        has not been requested pursuant to any other item of these requests that you intend to offer as

        evidence at trial of this case.


                RESPONSE:

                REQUEST #20:              Any documents, including any memorandum, reports, emails,

        letters, or other notices from Defendant’s corporate locations to its employees discussing or

        detailing steps to be taken in the event that a customer reports an incident that might give rise

        to legal liability against the Defendant.
                                                                                                            IRPD : 000012 of 000013




                RESPONSE:

                  REQUEST #21:             Any documents provided to Defendant by employees, agents,




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        or representatives concerning their observations of the circumstances surrounding Plaintiff’s

        Fall.


                RESPONSE:



                                                             Respectfully submitted,



                                                             /s/ J. Tate Meagher
                                                             J. Tate Meagher
                                                             MEAGHER LAW OFFICE, PLLC
                                                             436 South 7th Street, Suite 200
                                                             Louisville, KY 40203
                                                             (502) 309-9213 (office)
                                                             (502) 855-3166 (fax)




                                                                                                        Presiding Judge: HON. LUCY A. VANMETER (622386)
                                                             tate@meagherlawoffice.com
                                                             Counsel for Plaintiff


                                       CERTIFICATE OF SERVICE

                I hereby certify that a copy of the foregoing was served with the Complaint.



                                                             /s/ J. Tate Meagher
                                                             J. TATE MEAGHER




                                                                                                        IRPD : 000013 of 000013




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                                     COMMONWEALTH OF KENTUCKY
                                         FAYETTE CIRCUIT COURT
                                           DIVISION __________
                                          NO.-__________________



         ROBERT TOMPKINS                                                                      PLAINTIFF


         vs.


         BONNIE PLANTS, INC., et al.                                                      DEFENDANTS


           PLAINTIFF’S INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
         DOCUMENTS PROPOUNDED TO DEFENDANT LOWE’S HOME IMPROVEMENT,
                                       LLC




                                                                                                                Presiding Judge: HON. LUCY A. VANMETER (622386)
                                                 ** ** ** ** **

               Pursuant to Rules 26, 33, 34 and 36 of the Kentucky Rules of Civil Procedure, Plaintiff,

        Robert Tompkins, by and through counsel, hereby requests that Defendant Lowe’s Home

        Improvement, LLC d/b/a Lowe’s (hereinafter “Defendant”) answer the following Interrogatories

        and Requests for Production of Documents according to Civil Rules 33.01(2), 34.02(2) and

        36.01(2), and serve them upon Plaintiffs’ counsel within forty-five (45) days of the date of service.

               These Interrogatories and Requests for Production shall be deemed continuing.

        Knowledge of the attorneys for the Defendant or the claims agent or any other agent of the

        Defendant, or of any employee of the Defendant, shall be deemed to be the knowledge of the

        Defendant.
                                                                                                                IRPD : 000001 of 000014




                                        REQUESTS FOR ADMISSIONS

        REQUEST NO. 1:         Please admit that on April 17, 2018 and all times thereafter the Defendant




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        owned the retail store located at 2300 Grey Lag Way, Lexington, KY 40509.


                                            INTERROGATORIES


               INTERROGATORY #1: Please identify yourself fully, stating your full name, residence

        and business address, the position you hold with the Defendant, and your job responsibilities.

               ANSWER:


               INTERROGATORY #2: Was the Defendant in control of the area in which Plaintiff fell

        at the time the fall specified in Plaintiff’s Complaint (hereinafter referred to as the “Fall” or

        “Plaintiff’s Fall”) occurred? If not please state the name and address of those persons or entities

        which were in control of said premises at said time.




                                                                                                               Presiding Judge: HON. LUCY A. VANMETER (622386)
               ANSWER:


               INTERROGATORY #3: Please state the name and address of the person, firm or

        corporation which had the responsibility or duty for the maintenance of that portion of the

        premises where Plaintiff fell at the time of Plaintiff’s Fall if other than the Defendant.


               ANSWER:


               INTERROGATORY #4: If you contend that the Plaintiff had a status of anything other

        than a business invitee when on the premises at the time of the Fall, please explain your contention

        and identify all facts which support the contention that Plaintiff was not a business invitee.
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               ANSWER:




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                INTERROGATORY #5: Please give the following information with regard to the most

        recent examination or inspection of the area where Plaintiff’s Fall occurred for the 72 hours prior

        to his fall:


                a.      The date and time of the examination or the inspection;


                b.     The identification, including the name and address of the person or persons

        making said examination or inspection;



                c.     In complete detail what the examination or inspection consisted of;


                d.     In complete detail what the examination or the inspection revealed or showed if




                                                                                                              Presiding Judge: HON. LUCY A. VANMETER (622386)
                anything;


                e.     In complete detail each and every act or activity done or undertaken by the
                Defendant or the Defendant's agent or employee as a result of any condition or
                circumstance disclosed by said examination or inspection.

                ANSWER:



                INTERROGATORY #6: Please state what precautions if any were taken by the

        Defendant or any agent, or employee of the Defendant prior to the Plaintiff’s Fall to prevent

        injuries such as Plaintiff’s while on Defendant's premises.


                ANSWER:
                                                                                                              IRPD : 000003 of 000014




                INTERROGATORY #7: Prior to Plaintiff’s Fall please explain what notice, if any,

        Defendant had of the condition alleged to have caused Plaintiff’s Fall, how Defendant received




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        the notice, and what steps Defendant took after notice was received to warn customers of the

        condition or to correct the condition.


               ANSWER:


               INTERROGATORY #8: Prior to Plaintiff’s Fall please explain what preventative

        measures or actions were taken to prevent injuries such as Plaintiff’s.


               ANSWER:


               INTERROGATORY #9: Please describe the condition and appearance of the area of the

        premise where the Plaintiff fell immediately before and after Plaintiff’s Fall.




                                                                                                         Presiding Judge: HON. LUCY A. VANMETER (622386)
               ANSWER:


               INTERROGATORY #10: Please state in detail each act or omission by Plaintiff that it

        is contended, contributed to or caused his Fall.


               ANSWER:


               INTERROGATORY #11: If it is the Defendant's contention that the Plaintiff’s injuries

        were caused by some person or persons other than Defendant or their agents or employees, then

        please identify these other persons fully giving their names, addresses and telephone numbers.


               ANSWER:
                                                                                                         IRPD : 000004 of 000014




               INTERROGATORY #12: If the Defendant believes that it was not required to warn

        customers of the condition that caused Plaintiff’s Fall or correct such condition due to the




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        involvement of those listed in Interrogatory No. 11, please set forth each and every fact that

        supports Defendant’s belief.


               ANSWER:


               INTERROGATORY #13: Please state in detail what the Defendant's policy and

        procedure is for their agents, employees or representatives to follow when they discover a

        condition or situation on their business premises that could give rise to injury.


               ANSWER:


               INTERROGATORY #14: Please state whether the policy or procedure identified in




                                                                                                                Presiding Judge: HON. LUCY A. VANMETER (622386)
        Interrogatory #13 was followed in this case, and if so, identify the agents, employees, or

        representatives who followed the policy or procedure, their current address and telephone number,

        the current employment status, and the exact steps they took to comply with the policy and

        procedure.


               ANSWER:


               INTERROGATORY #15: If you had any other incidents prior to the incident forming

        the basis of this lawsuit which are substantially similar or occurred at the same or similar location

        please provide details of said incidents, identifying any documents and photographs which reflect

        such incidents and identifying any witnesses or parties to said incident.
                                                                                                                IRPD : 000005 of 000014




               ANSWER:


               INTERROGATORY #16: Is it the Defendant's usual custom and procedure to investigate




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        incidents where someone claims they have suffered an injury on the premises? If so, please

        describe that custom and procedure generally and identify how that procedure was implemented

        on the date of Plaintiff’s Fall.


                ANSWER:


                INTERROGATORY #17: If there was any type of investigation made concerning the

        Plaintiffs Fall please state whether the Defendant conducted such investigation in anticipation of

        litigation and if so, state each fact of which Defendant was aware at the time of the investigation

        that caused it to believe that it was conducting the investigation in anticipation of litigation. Please

        also state the names of the persons who conducted said investigation.




                                                                                                                   Presiding Judge: HON. LUCY A. VANMETER (622386)
                ANSWER:


                INTERROGATORY #18: Describe any insurance agreement under which any company

        may be liable to satisfy part or all of the judgment which may be entered in this action or to

        indemnify or reimburse for payments made to satisfy the judgment by stating the name of the

        person or entity who is insured, the name of the insurer and the amount of any liability insurance

        coverage and also indicate whether any medical payment coverage is available under any such

        coverage.


                ANSWER:                                                                                            IRPD : 000006 of 000014



                INTERROGATORY # 19: Please describe in detail any subsequent incidents which

        occurred in substantially the same way as Plaintiffs Fall or in the same, similar or nearby location.




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               ANSWER:


               INTERROGATORY #20: If the Defendant changed, reconfigured, corrected, repaired or

        fixed in any way the physical site of Plaintiff's Fall please state what was done and by whom.


               ANSWER:


               INTERROGATORY #21: Please identify each person whom you intend to call as an

        expert witness at the trial of this matter and for each such expert witness please state the following:


               a.       The subject matter on which said expert is expected to testify;


               b.       The substance, facts and opinions to which the expert is expected to testify;




                                                                                                                  Presiding Judge: HON. LUCY A. VANMETER (622386)
               c.       A summary of the grounds for each opinion expected to be given by the expert,

                        and;


               d.       Please indicate whether any report, including factual observations and opinions,

                        has been prepared by any such expert.


               ANSWER:


               INTERROGATORY #22: If you or your representative has obtained a statement of any

        type from any person who has knowledge of any relevant facts concerning Plaintiff's Fall, please

        state the name and address of the person giving the statement, whether the statement was written
                                                                                                                  IRPD : 000007 of 000014




        or recorded or otherwise transcribed and who took the statement.


               ANSWER:




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               INTERROGATORY #23: Please identify each lay witness that you intend to call at the

        trial of this matter and include a complete description of the subject matter of the expected

        testimony of each such witness.


               ANSWER:


               INTERROGATORY #24: Please describe any claims or lawsuits that have previously

        been brought against the Defendant by reason of an accident or injury at the same or similar

        location or a similar type of accident on the Defendant's premises at some other location.




                                                                                                                Presiding Judge: HON. LUCY A. VANMETER (622386)
               ANSWER:


               INTERROGATORY #25: Please identify all photographs, motion pictures, video tape

        recordings, maps, drawings, charts, diagrams, measurements, surveys or other documents

        concerning the events and happenings forming the basis of this lawsuit, the area of the occurrence,

        persons or objects involved either made before or after the time of the events in question, including

        any photographs made at any time since the incident that you, your attorney, your insurance carrier

        or anyone acting on your or their behalf have or know of.


               ANSWER:


               INTERROGATORY #26: Please state the names, last known addresses, job titles or
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        descriptions of any and all agents and/or employees of Defendant who were working for the

        Defendant the day of Plaintiffs Fall. Please separately state the names and last known addresses of




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        each person who was present, is reported to have been present, or who claims to have been present

        at the scene of the occurrence complained of in the Plaintiff's complaint at any time within one

        hour preceding and/or one hour following Plaintiff’s Fall.


                 ANSWER:



                 INTERROGATORY #27:                  Did the Defendant’s employees, agents, or representatives

        communicate with the Plaintiff on the date of the Fall, and if so, please provide the employee, agent, or

        representative’s name, last known address and telephone number, position with Defendant, the current status

        of the employee, agent, or representative with Defendant, and the substance of the communications with the

        Defendant.




                                                                                                                          Presiding Judge: HON. LUCY A. VANMETER (622386)
                 ANSWER:


                 INTERROGATORY #28:                  Did the Defendant’s employees, agents, or representatives review a

        surveillance, security, or other videotape on the date of Plaintiff’s Fall or subsequently thereafter? If so,

        identify the employee, agent, or representative who reviewed the videotape, the reasons for reviewing the

        videotape, whether this review is part of a policy or procedure in place by the Defendant, and what actions the

        employee, agent, or representative took after reviewing the videotape.


                 ANSWER:


                 INTERROGATORY #29:                  If Defendant denied the Requests for Admission preceding these
                                                                                                                          IRPD : 000009 of 000014




        Interrogatories above, please explain the reasoning for said denial(s).


                 ANSWER:




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                                             REQUESTS FOR PRODUCTION

                  Defendant is to produce the following items within forty-five days from service

        hereof:


                  REQUEST #1:            Any contracts between the Defendant and any maintenance, repair

        service or cleaning company in effect at the time of Plaintiff's Fall.

                  RESPONSE:


                  REQUEST #2:            Any contracts between the Defendant and any person or entity

        responsible for caring for the premises at the time of Plaintiff's Fall.




                                                                                                           Presiding Judge: HON. LUCY A. VANMETER (622386)
                  RESPONSE:

                  REQUEST #3:           Any indemnity agreement between any party to this case and any

        non-party which is relevant to the accident and injury forming the basis of this lawsuit.


                  RESPONSE:

                  REQUEST #4:            Any joint venture agreement between the parties or any party

        to this lawsuit and any non-party regarding the ownership, operation, repair, maintenance,

        advertising, security or other service of or for the premises of Plaintiff's Fall.


                  RESPONSE:

                  REQUEST # 5:           Any rules, management guidelines, operating guidelines or other
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        similar writing or document that purports to show operating procedures for the management,

        care, maintenance, repair service or cleaning of the premises of Plaintiff's Fall.




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                RESPONSE:

                REQUEST #6:              Any and all photographs or video that the Defendant has of

        the scene of the Fall or the resulting injuries to Plaintiff, including any surveillance tape that

        shows Plaintiff’s fall and/or the 24 hours prior to and after Plaintiff’s fall.


                RESPONSE:

                REQUEST #7:              Any and all insurance agreements or policies under which any

        person or entity carrying on an insurance business may be liable to satisfy part or all of a

        judgment which may be rendered in this action or to indemnify or reimburse for payments made

        to satisfy the judgment.




                                                                                                             Presiding Judge: HON. LUCY A. VANMETER (622386)
                RESPONSE:

                REQUEST #8:              Copies of any and all statements previously made by Plaintiff or

        Defendant concerning the subject matter of this lawsuit including any written statement signed or

        otherwise by either Plaintiff or Defendant in any stenographic, mechanical, electrical or other

        type of recording or any other transcription thereof made by either Plaintiff or Defendant and

        contemporaneously recorded.


                RESPONSE:

                REQUEST #9:              Any and all drawings, maps or sketches of the scene of

        Plaintiffs Fall.                                                                                     IRPD : 000011 of 000014



                RESPONSE:

                REQUEST #10:             Any and all settlement agreements wherein you have arrived at a




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        settlement or agreement between you and any other person whether or not a party to this lawsuit

        regarding or pertaining to the incident forming the basis of this lawsuit or any damages

        resulting therefrom.


                RESPONSE:

                REQUEST #11:            Any and all reports that were or will be relied upon in whole

        or in part by any testifying expert in this case.


                RESPONSE:

                REQUEST #12:            Any and all expert reports or things that were or will be

        reviewed by a testifying expert in this case.




                                                                                                               Presiding Judge: HON. LUCY A. VANMETER (622386)
                RESPONSE:

                REQUEST #13:            Any and all work papers, notes, documents in the file of any

        expert witness who is expected to testify or in the file of any expert witness who has written a

        report, which is or will be relied upon in whole or in part by a testifying expert in this case.


                RESPONSE:

                REQUEST #14:            All documents or tangible things prepared by any expert whom

        you expect to call as a witness not limited to those which would include his/her report,

        observations, opinions, conclusions, photographs, field notes or calculations relied upon for his or

        her testimony in this case.
                                                                                                               IRPD : 000012 of 000014




                RESPONSE:

                REQUEST #15:            Any and all copies of reports of all similar incidents




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        prepared by any and all employees of the Defendant for the past five years.


                RESPONSE:

                REQUEST #16:              All materials including but not limited to employee manuals,

        policy and procedure documents, memoranda and correspondence pertaining to safety rules

        and/or regulations to be followed by the employees to ensure customer safety at the Defendant's

        premises which were in effect at the time of Plaintiff's Fall. This includes any training films

        and/or video tapes used by Defendant concerning customer falls, etc.


                REQUEST #17:              A current copy of the curriculum vitae of any expert who may

        be called to testify at trial.




                                                                                                            Presiding Judge: HON. LUCY A. VANMETER (622386)
                RESPONSE:

                REQUEST #18:              Any documents, incident reports, memorandums or other

        written records pertaining to any investigation into Plaintiffs Fall.


                RESPONSE:

                REQUEST #19:              Any known documents and tangible things of which production

        has not been requested pursuant to any other item of these requests that you intend to offer as

        evidence at trial of this case.


                RESPONSE:

                REQUEST #20:              Any documents, including any memorandum, reports, emails,
                                                                                                            IRPD : 000013 of 000014




        letters, or other notices from Defendant’s corporate locations to its stores discussing or

        detailing steps to be taken in the event that a customer reports an incident that might give rise




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        to legal liability against the Defendant.


                RESPONSE:

                 REQUEST #21:           Any documents provided to Defendant by employees, agents,

        or representatives concerning their observations of the circumstances surrounding Plaintiff’s

        Fall.


                RESPONSE:



                                                             Respectfully submitted,




                                                                                                        Presiding Judge: HON. LUCY A. VANMETER (622386)
                                                             /s/ J. Tate Meagher
                                                             J. Tate Meagher
                                                             MEAGHER LAW OFFICE, PLLC
                                                             436 South 7th Street, Suite 200
                                                             Louisville, KY 40203
                                                             (502) 309-9213 (office)
                                                             (502) 855-3166 (fax)
                                                             tate@meagherlawoffice.com
                                                             Counsel for Plaintiff


                                        CERTIFICATE OF SERVICE

                I hereby certify that a copy of the foregoing was served with the Complaint.



                                                             /s/ J. Tate Meagher
                                                             J. TATE MEAGHER
                                                                                                        IRPD : 000014 of 000014




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  Case #: 19-CI-00994                   Envelope #: 1532294

 Received From: JONATHAN MEAGHER                              Account Of: JONATHAN MEAGHER

 Case Title: TOMPKINS, ROBERT VS. BONNIE PLANTS, INC.,        Confirmation Number: 89049996
 ET AL
 Filed On: 3/19/2019 12:24:04PM



 #      Item Description                                                                               Amount
 1      Access To Justice Fee                                                                           $20.00
 2      Civil Filing Fee                                                                               $150.00
 3      Money Collected For Others(Court Tech. Fee)                                                     $20.00
 4      Library Fee                                                                                      $1.00
 5      Court Facilities Fee                                                                            $25.00
 6      Money Collected For Others(Attorney Tax Fee)                                                     $5.00
 7      Money Collected For Others(Postage)                                                             $26.00
 8      Charges For Services(Copy - Photocopy)                                                           $6.80
 9      Money Collected For Others(Postage)                                                             $14.05
 10     Money Collected For Others(Secretary of State)                                                  $15.30
 11     Charges For Services(Copy - Photocopy)                                                           $6.80
 12     Charges For Services(Attestation)                                                                $0.50

                                                                                              TOTAL:   $290.45




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                                COMMONWEALTH OF KENTUCKY
                                  FAYETTE CIRCUIT COURT
                                         DIVISION 3
                                 CIVIL ACTION NO. 19-CI-00994
                                   ELECTRONICALLY FILED

        ROBERT TOMPKINS                                                              PLAINTIFF

        v.                       RULE 12 MOTION TO DISMISS
                                BY LOWE’S HOME CENTERS, LLC

        BONNIE PLANTS, INC., ALABAMA                                             DEFENDANTS
        FARMERS COOPERATIVE, INC., and
        LOWE’S HOME IMPROVEMENT, LLC

                                           * * * * * * * * *

                 Defendant, Lowe’s Home Centers, LLC (incorrectly identified in Plaintiff’s

        Complaint as “Lowe’s Home Improvement, LLC”) (“Lowe’s”), by counsel, and for its

        response to Plaintiff’s Complaint, moves this Court, pursuant to Rule 12 of the

        Kentucky Rules of Civil Procedure, to dismiss Plaintiff’s claims against it for failure

        to state a claim upon which relief may be granted. As grounds, Defendant Lowe’s

        states that Plaintiff’s Complaint fails to state a colorable claim against Lowe’s

        pursuant to Civil Rule 8.01. Additional grounds for Defendant Lowe’s motion are

        included in the attached Memorandum of Law.

                                                 NOTICE

                 This motion shall come on for hearing before the Fayette Circuit Court,

        Division 3, on May 3, 2019 at 2:00 p.m., or as soon thereafter as counsel may be

        heard.
                                                                                                        DIS : 000001 of 000002




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                                               Respectfully submitted,

                                               STEPTOE & JOHNSON PLLC

                                               /s/ Laura L. Mays_______________________
                                               Laura L. Mays, Esq.
                                               One Paragon Centre
                                               2525 Harrodsburg Road, Suite 300
                                               Lexington, Kentucky 40504
                                               859.219.8200 (t)
                                               859.255.6903 (f)
                                               laura.mays@steptoe-johnson.com
                                               COUNSEL FOR DEFENDANT LOWE’S


                                  CERTIFICATE OF SERVICE

              I hereby certify that a true and accurate copy of the foregoing was filed with
        the Clerk using the ECF system and mailed via U.S. mail, postage prepaid, on the
        10th day of April, 2019 to the following:

        J. Tate Meagher
        Meagher Law Office, PLLC
        436 South 7th Street, Suite 200
        Louisville, Kentucky 40203
        Plaintiff’s Counsel

        Bonnie Plants, Inc.
        Registered Agent
        CT Corporation System
        306 West Main Street
        Suite 512
        Frankfort, Kentucky 40601
        Defendant

        Alabama Farmers Cooperative, Inc.
        Registered Agent
        Alfred E. Cheatam, Jr.
        121 Somerville Road NE
        Decatur, Alabama 35601
                                                                                                        DIS : 000002 of 000002




        Defendant


                                               /s/ Laura L. Mays______________________
                                               COUNSEL FOR DEFENDANT LOWE’S

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                                     COMMONWEALTH OF KENTUCKY
                                          FAYETTE CIRCUIT COURT
                                                  DIVISION III
                                        CIVIL ACTION NO. I9-CI-00994
                                               Electronically Filed

        ROBERT TOMPKINS                                                                       PLAINTIFF

        VS.                                        ANSWER


        BONNIE PLANTS, INC. d/b/a BONNIE PLANTS,
        ALABAMA FARMERS COOPERATIVE, INC. d/b/a
        BONNIE PLANTS, and LOWE'S HOME IMPROVEMENT, LLC,
        d/b/a LOWE'S and d/b/a LOWE'S HOME IMPROVEMENT                                    DEFENDANTS

                                            ***     ***    ***     ***




                Come the Defendants, Bonnie Plants, Inc., d/b/a Bonnie Plants and Alabama Farmers

        Cooperative, Inc., d/b/a Bonnie Plants, by counsel, and for their Answer to Plaintiffs Complaint

        state as follows:


                1.      These Defendants are without information or knowledge sufficient to form a belief

        as to the truth of the averments contained within Paragraph 1 of the Plaintiff s Complaint, and

        therefore, deny same.

                2.      These Defendants admit the averments contained within Paragraphs 2 and 3 of the

        Plaintiffs Complaint.

                3.      These Defendants are without information or knowledge sufficient to form a belief

        as to the truth ofthe averments contained within Paragraphs 4,5, and 6 ofthe Plaintiff s Complaint,

        and therefore, deny same.

                4.      These Defendants admit the averments contained within Paragraphs 7 and 8 of the
                                                                                                              ANS : 000001 of 000006




        Plaintiffs Complaint.

                5.      In response to Paragraph 9 of the Plaintiffs Complaint, these Defendants state they

        complied with all legal duties owed, if any, and that to the extent Paragraph 9 of the Plaintiff s



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        Complaint misstates these legal duties, if any, and/or to the extent Paragraph 9 of the Plaintiffs

        Complaint suggests these Defendants did not comply with these duties, these Defendants deny the

        averments contained within Paragraph 9 of the Plaintiffs Complaint.

               6.      These Defendants deny the averments contained within Paragraph 10 of the

        Plaintiffs Complaint.

               7.      These Defendants admit the averments contained within Paragraph 11 of the

        Plaintiffs Complaint.

               8.      These Defendants deny the averments contained within Paragraphs 12 and 13 of

        the Plaintiffs Complaint.

               9.      These Defendants are without information or knowledge sufficient to form a belief

        as to the truth of the averments contained within Paragraph 13 of the Plaintiffs Complaint, and

        therefore, deny same.

               10.     These Defendants deny the averments contained within Paragraphs 15 and 16 of

        the Plaintiffs Complaint.

               11.     These Defendants are without information or knowledge sufficient to form a belief

        as to the truth of the averments contained within Paragraph 17 of the Plaintiff s Complaint, and

        therefore, deny same.

               12.     Each and every averment contained within the Plaintiffs Complaint that is not

        specifically admitted herein is hereby expressly denied

                                                FIRST DEFENSE


               As an affirmative defense, these Defendants specifically plead that Plaintiffs Complaint
                                                                                                             ANS : 000002 of 000006




        fails to state a claim against them for which relief may be granted.




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                                                SECOND DEFENSE


                As an affirmative defense, these Defendants specifically plead that Plaintiffs Complaint

        fails to name and join in this action all real parties in interest and/or all indispensable, necessary

        and proper parties.

                                                 THIRD DEFENSE


                As an affirmative defense, these Defendants specifically plead that Plaintiffs Complaint is

        barred, in whole or in part, by the provisions of the Tort Reform Act, as contained in Chapter 411

        of the Kentucky Revised Statutes.

                                                FOURTH DEFENSE


                As an affirmative defense, these Defendants specifically plead that the damages alleged in

        Plaintiffs Complaint, if any, were the direct and proximate cause of the sole and/or comparative

        negligence of the Plaintiff or the sole and/or persons or entities not presently parties to this lawsuit.

                                                 FIFTH DEFENSE


                As an affirmative defense, these Defendants specifically plead that the damages alleged in

        Plaintiffs Complaint, if any, were avoidable consequences, since the Plaintiff failed to mitigate or

        reduce his alleged damages, if any.

                                                 SIXTH DEFENSE


                As an affirmative defense, these Defendants specifically plead that Plaintiff has waived the

        right to assert a claim against them and is, therefore, estopped to do so in this lawsuit.

                                               SEVENTH DEFENSE


                As an affirmative defense, these Defendants state that the Plaintiffs Complaint is barred,
                                                                                                                    ANS : 000003 of 000006




        in whole or in part, by the applicable statute of limitations, and/or the equitable doctrine of laches.




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                                               EIGHTH DEFENSE


               As an affirmative defense, these Defendants specifically plead that the injuries and

        damages alleged in Plaintiffs Complaint, if any, were the direct and proximate result of

        superseding and/or intervening causes of which these Defendants had no responsibility or control.

                                                NINTH DEFENSE


               As an affirmative defense, these Defendants state that if Plaintiff s fall was caused by any

        dangerous condition on the premises described in Plaintiffs Complaint, which is specifically

        denied, then that condition was open and obvious to Plaintiff.

                                               TENTH DEFENSE


               As an affirmative defense, these Defendants state that Plaintiffs claims are barred, in

        whole or in part, by the doctrine of assumption of the risk.

                                            ELEVENTH DEFENSE


               As an affirmative defense, these Defendants state that if any dangerous condition was

        present on the premises described in Plaintiffs Complaint, which is specifically denied, then said

        condition was not discovered by these Defendants, despite their exercise of all reasonable care to

        discovery same, and/or these Defendants gave warning adequate to enable Plaintiff to avoid harm

        and/or otherwise protect herself from harm.

                                             TWELFTH DEFENSE


               As an affirmative defense, these Defendants specifically plead that prejudgment interest

        cannot be awarded for an unliquidated claim.                                                          ANS : 000004 of 000006




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                                            THIRTEENTH DEFENSE


                As an affirmative defense, these Defendants state that attorney fees are not recoverable as

        damages under Kentucky law in the absence of a specific contractual provision or statute

        permitting same.

                                            FOURTEENTH DEFENSE


                These Defendants reserve the right to amend this Answer or to assert any additional

        defenses that become known and available to them.

                WHEREFORE, Bonnie Plants, Inc., d/b/a Bonnie Plants and Alabama Farmers

        Cooperative, Inc., d/b/a Bormie Plants, pray the Court as follows:

                1.      That Plaintiffs Complaint filed against them in this action be DISMISSED with

        PREJUDICE and stricken from the docket;

                2.      That they be awarded their costs herein expended, and including reasonable

        attorney's fees (if applicable);

                3.      For a trial of this cause by jury; and,

                4.      For any and all other just and proper relief that the Court may deem them entitled.

                                                        Respectfully submitted,

                                                        WMR DEFENSE




                                                        John W. Walters
                                                        Lucas R. Harrison
                                                        771 Corporate Drive, Suite 900
                                                        Lexington, Kentucky 40503
                                                        Telephone:    (859)219-9090
                                                                                                              ANS : 000005 of 000006




                                                        Facsimile:    (859)219-9292
                                                        COUNSEL FOR DEFENDANTS,
                                                        BONNIE PLANTS, INC., d/b/a BONNIE PLANTS
                                                        AND ALABAMA FARMERS COOPERATIVE,
                                                        INC., d/b/a/ BONNIE PLANTS




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                                                             CERTIFICATE OF SERVICE


                    This is to certify that the foregoing has been served on this the (i^day of April 2019 by
        mailing and/or emailing a true and accurate copy to the following:

         J. Tate Meagher                                                   Lowe's Home Improvement, LLC
         Meagher Law Office, PLLC                                          C/0 Corporation Service Company
         436 South 7"^ Street, Suite 200                                   421 West Main Street
         Louisville, KY 40203                                              Frankfort, KY 40601
          Counselfor Plaintiff                                             Defendant


                                                                                    r
                                                                        COUNSEL FOR DEFENDANTS,
                                                                        BONNIE PLANTS, INC., d/b/a BONNIE PLANTS
                                                                        AND ALABAMA FARMERS COOPERATIVE,
                                                                        INC., d/b/a/ BONNIE PLANTS



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                                                                                                                   ANS : 000006 of 000006




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                               COMMONWEALTH OF KENTUCKY
                                 FAYETTE CIRCUIT COURT
                                        DIVISION 3
                                CIVIL ACTION NO. 19-CI-00994
                                  ELECTRONICALLY FILED

        ROBERT TOMPKINS                                                              PLAINTIFF


        v.                CR 5.02 NOTICE TO EFFECTUATE AND
                        RECEIVE SERVICE VIA ELECTRONIC MEANS


        BONNIE PLANTS, INC., ALABAMA                                             DEFENDANTS
        FARMERS COOPERATIVE, INC., and
        LOWE’S HOME IMPROVEMENT, LLC

                                          * * * * * * * * *

              PLEASE TAKE NOTICE that Defendant Lowe’s Home Centers, LLC

        (incorrectly identified in Plaintiff’s Complaint as “Lowe’s Home Improvement,

        LLC”) (“Lowe’s”), by counsel, and pursuant to Rule 5.02(2) of the Kentucky Rules of

        Civil Procedure, elects to receive service via email to and from all other attorneys or

        parties in this action. Counsel requests that service to Defendant Lowe’s counsel of

        record be made to the following electronic mail addresses: laura.mays@steptoe-

        johnson.com and melinda.sparks@steptoe-johnson.com.

              All parties to this action are hereby notified that pursuant to Rule 5.02(2) of

        the Kentucky Rules of Civil Procedure, they must immediately begin serving the

        undersigned counsel at the email addresses stated herein, unless specifically
                                                                                                        NO : 000001 of 000002



        relieved of this obligation by Order of this Court for good cause.




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                                               Respectfully submitted,

                                               STEPTOE & JOHNSON PLLC

                                               /s/ Laura L. Mays_______________________
                                               Laura L. Mays, Esq.
                                               One Paragon Centre
                                               2525 Harrodsburg Road, Suite 300
                                               Lexington, Kentucky 40504
                                               859.219.8200 (t)
                                               859.255.6903 (f)
                                               laura.mays@steptoe-johnson.com
                                               COUNSEL FOR DEFENDANT LOWE’S


                                  CERTIFICATE OF SERVICE

              I hereby certify that a true and accurate copy of the foregoing was filed with
        the Clerk using the ECF system and mailed via U.S. mail, postage prepaid, on the
        11th day of April, 2019 to the following:

        J. Tate Meagher
        Meagher Law Office, PLLC
        436 South 7th Street, Suite 200
        Louisville, Kentucky 40203
        Plaintiff’s Counsel

        Bonnie Plants, Inc.
        Registered Agent
        CT Corporation System
        306 West Main Street
        Suite 512
        Frankfort, Kentucky 40601
        Defendant

        Alabama Farmers Cooperative, Inc.
        Registered Agent
        Alfred E. Cheatam, Jr.
        121 Somerville Road NE
        Decatur, Alabama 35601
                                                                                                        NO : 000002 of 000002




        Defendant


                                               /s/ Laura L. Mays______________________
                                               COUNSEL FOR DEFENDANT LOWE’S

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                                     COMMONWEALTH OF KENTUCKY
                                         FAYETTE CIRCUIT COURT
                                                  DIVISION III
                                       CIVIL ACTION NO. 19-CI-00994
                                               Electronically Filed

        ROBERT TOMPKINS                                                                       PLAINTIFF


        VS.                              RULE 22 CERTIFICATION


        BONNIE PLANTS, INC. d/b/a BONNIE PLANTS,
        ALABAMA FARMERS COOPERATIVE, INC. d/b/a
        BONNIE PLANTS, and LOWE'S HOME IMPROVEMENT, LLC,
        d/b/a LOWE'S and d/b/a LOWE'S HOME IMPROVEMENT                                    DEFENDANTS

                                            ***    ***     ***     ***




               Come the Defendants, Defendants, Bonnie Plants, Inc., d/b/a Bonnie Plants and Alabama

        Farmers Cooperative, Inc., d/b/a Bonnie Plants, by counsel, and hereby certify that pursuant to

        Rule 22 of local rules of the Fayette Circuit Court and Rules 33 and 34 of the Kentucky Rules of

        Civil Procedure, they have served their First Set of Interrogatories and Requests for Production of

        Documents and Requests for Admission to Plaintiff, Robert Tompkins, on this the ll day of
        April 2019.

                                                     Respectfully submitted,

                                                     WMR DEFENSE




                                                     John W. Walters
                                                     Lucas R. Harrison
                                                     771 Corporate Drive, Suite 900
                                                     Lexington, Kentucky 40503
                                                     Telephone;    (859)219-9090
                                                                                                              NF : 000001 of 000002




                                                     Facsimile:    (859)219-9292
                                                     COUNSEL FOR DEFENDANTS,
                                                     BONNIE PLANTS, INC., d/b/a BONNIE PLANTS
                                                     AND ALABAMA FARMERS COOPERATIVE,
                                                     INC., d/b/a/ BONNIE PLANTS




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                                                               CERTIFICATE OF SERVICE


                     This is to certify that the foregoing has been served on this the fl day ofApril 2019 by
        mailing and/or emailing a true and accurate copy to the following:

          J. Tate Meagher                                                    Lowe's Home Improvement, LLC
          Meagher Law Office, PLLC                                           C/0 Corporation Service Company
          436 South 7*^ Street, Suite 200                                    421 West Main Street
          Louisville, KY 40203                                               Frankfort, KY 40601
          Counselfor Plaintiff                                               Defendant




                                                                          COUNSEL FOR DEFENDANTS,
                                                                          BONNIE PLANTS, INC., d/b/a BONNIE PLANTS
                                                                          AND ALABAMA FARMERS COOPERATIVE,
                                                                          INC., d/b/a/ BONNIE PLANTS



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                                    COMMONWEALTH OF KENTUCKY
                                         FAYETTE CIRCUIT COURT
                                                  DIVISION III
                                       CIVIL ACTION NO. 19-CI-00994
                                              Electronically Filed

        ROBERT TOMPKINS                                                                      PLAINTIFF


        VS.                             ENTRY OF APPEARANCE


        BONNIE PLANTS, INC. d/b/a BONNIE PLANTS,
        ALABAMA FARMERS COOPERATIVE, INC. d/b/a
        BONNIE PLANTS, and LOWE'S HOME IMPROVEMENT, LLC,
        d/b/a LOWE'S and d/b/a LOWE'S HOME IMPROVEMENT                                    DEFENDANTS

                                           ***     ***    ***     ***




               All parties and the Court herein shall please take notice that John W. Walters and Lucas R.

        Harrison of the firm of WMR Defense hereby enter an appearance as counsel of record for the

        Defendants, Lowe's Home Improvement, LLC, d/b/a Lowe's, and Lowe's Home Improvement.

        All correspondence, pleadings, and other communications should be forwarded to Hon. John W.

        Walters and Lucas R. Harrison at the address and telephone number listed below.

                                                     Respectfully submitted,

                                                     WMR DEFENSE




                                                     John W. Walters
                                                     Lucas R. Harrison
                                                     771 Corporate Drive, Suite 900
                                                     Lexington, Kentucky 40503
                                                     Telephone:    (859)219-9090
                                                     Facsimile;    (859)219-9292
                                                     COUNSEL FOR DEFENDANTS
                                                                                                             EA : 000001 of 000002




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                                                              CERTIFICATE OF SERVICE


                    This is to certify that the foregoing has been served on this the                day of April 2019 by

        mailing and/or emailing a true and accurate copy to the following:

         J. Tate Meagher                                                    Laura L. Mays
         Meagher Law Office, PLLC                                           One Paragon Centre
         436 South 7"' Street, Suite 200                                    2525 Harrodsburg Road, Suite 300
          Louisville, KY 40203                                              Lexington, Kentucky 40504
          Counselfor Plaintiff                                              Co-Counselfor Defendant,
                                                                            Lowe's Home Improvement, LLC


                                                                         COUNSEL FOR DEFENDANTS




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                                 COMMONWEALTH OF KENTUCKY
                                   FAYETTE CIRCUIT COURT
                                          DIVISION 3
                                  CIVIL ACTION NO. 19-CI-00994


        ROBERT TOMPKINS                                                                PLAINTIFF

        v.                      DEFENDANT’S NOTICE OF SERVICE

        BONNIE PLANTS, INC., ET AL                                                 DEFENDANTS

                                            * * * * * * * * *

              PLEASE TAKE NOTICE that Defendant, Lowe’s Home Centers, LLC, by

        counsel, served its Answer to Plaintiff’s Request for Admission on the 17th day of

        April, 2019.



                                                  Respectfully submitted,

                                                  Steptoe & Johnson, PLLC

                                                  /s/ Laura L. Mays
                                                  Laura L. Mays, Esq.
                                                  One Paragon Centre
                                                  2525 Harrodsburg Road, Suite 300
                                                  Lexington, Kentucky 40504
                                                  859.219.8216 (t) / 859.255.6309 (f)
                                                  laura.mays@steptoe-johnson.com
                                                  COUNSEL FOR DEFENDANT
                                                  LOWE’S HOME CENTERS, LLC



                                     CERTIFICATE OF SERVICE
                                                                                                        NO : 000001 of 000002




               I hereby certify that on the 17th of April, 2019, a copy of the foregoing Notice
        of Service was filed electronically with the Court. Notice of this filing will be sent to
        the following parties by operation of the Court’s electronic filing system and Email.
        Parties may access this filing through the Court’s system:



Filed                  19-CI-00994   04/17/2019         Vincent Riggs, Fayette Circuit Clerk
Filed               19-CI-00994
        Case: 5:19-cv-00197-MAS 04/17/2019
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              J. Tate Meagher
              Meagher Law Office, PLLC
              436 South 7th Street, Suite 200
              Louisville, Kentucky 40203
              tate@meagherlawoffice.com
              Counsel for Plaintiff

              John W. Walters
              Lucas R. Harrison
              WMR Defense
              771 Corporate Drive, Suite 900
              Lexington, Kentucky 40503
              john@wmrdefense.com
              lucas@wmrdefense.com
              Counsel for Defendants

                                                /s/ Laura L. Mays______________________
                                                COUNSEL FOR DEFENDANT,
                                                LOWE’S HOME CENTERS, LLC




                                                                                                        NO : 000002 of 000002




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Filed               19-CI-00994   04/17/2019          Vincent Riggs, Fayette Circuit Clerk
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                            COMMONWEALTH OF KENTUCKY




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                                FAYETTE CIRCUIT COURT
                                       DIVISION III
                              CIVIL ACTION NO. 19-CI-00994
                                    Electronically Filed

ROBERT TOMPKINS                                                                     PLAINTIFF

VS.                      NOTICE OF ENTRY OF APPEARANCE

BONNIE PLANTS, INC. d/b/a BONNIE PLANTS,
ALABAMA FARMERS COOPERATIVE, INC. d/b/a
BONNIE PLANTS, and LOWE’S HOME IMPROVEMENT, LLC,
d/b/a LOWE’S and d/b/a LOWE’S HOME IMPROVEMENT                                  DEFENDANTS

                                   ***    ***     ***    ***

       All parties and the Court herein please take notice that Gary W. Thompson of WMR

Defense hereby enters his appearance as co-counsel for the Defendants, Bonnie Plants, Inc., d/b/a

Bonnie Plants, Alabama Farmers Cooperative, Inc., d/b/a Bonnie Plants, Lowe’s Home Centers,

LLC (incorrectly identified in Plaintiff’s Complaint as “Lowe’s Home Improvement, LLC”). All

future correspondence, pleadings, and other communications should be forwarded to attorneys

John W. Walters, Gary W. Thompson, and Lucas Harrison at the address and telephone number

listed below and Gary W. Thompson’s name should appear on all Certificates of Service for all

pleadings.

                                            Respectfully submitted,

                                            WMR DEFENSE

                                            /s/Gary W. Thompson
                                            John W. Walters
                                            Gary W. Thompson
                                            Lucas R. Harrison
                                            771 Corporate Drive, Suite 900
                                            Lexington, Kentucky 40503
                                            Telephone:    (859) 219-9090
                                            Facsimile:    (859) 219-9292
                                            COUNSEL FOR DEFENDANTS
Case: 5:19-cv-00197-MAS Doc #: 1-1 Filed: 05/02/19 Page: 58 of 58 - Page ID#: 62




                                                     CERTIFICATE OF SERVICE




                                                                                                         BCA62EE5-2217-49D1-925F-074B2577862C : 000002 of 000002
            This is to certify that the foregoing has been served on this the 2nd day of May 2019 by

mailing and/or emailing a true and accurate copy to the following:

 J. Tate Meagher                                                      Laura L. Mays
 Meagher Law Office, PLLC                                             One Paragon Centre
 436 South 7th Street, Suite 200                                      2525 Harrodsburg Road, Suite 300
 Louisville, KY 40203                                                 Lexington, Kentucky 40504
 Counsel for Plaintiff                                                Co-Counsel for Defendant,
                                                                      Lowe’s Home Improvement, LLC



                                                                /s/ Gary W. Thompson
                                                                COUNSEL FOR DEFENDANTS



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